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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

Vetrica Navigation Co.,                              §
                                                     §
       Plaintiff,                                    §
                                                     §   CIVIL ACTION _________________
vs.                                                  §
                                                     §   IN ADMIRALTY, Rule 9(h)
Shebah Exploration & Production Company Ltd.         §
                                                     §
Salvic Petroleum Resources Ltd.,                     §
                                                     §
       Defendants,                                   §
                                                     §
and                                                  §
                                                     §
Network Solutions, LLC,                              §
                                                     §
GoDaddy.com, LLC                                     §
                                                     §
       Garnishees.                                   §

                        DISCLOSURE OF CORPORATE INTEREST

       Pursuant to Fed. R. Civ. P. 7.1, Plaintiff Vetrica Navigation Co. states its parent

corporation is Avin International Limited. Avin International Limited is not a publicly traded

corporation and does have a financial interest in the outcome of this litigation.

                                      YOUNG CONAWAY STARGATT & TAYLOR LLP


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Dated: February 19, 2020




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